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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION


    UNITED STATES OF AMERICA

    v.                                          Case No. 3:21-cr-22(2)-MMH-MCR

    MATTHEW RAYMOND HOOVER


                                        ORDER

          THIS CAUSE is before the Court on Defendant Matthew Raymond

    Hoover’s Motion to for [sic] Leave to File Reply to Opposition to Motion to Sever

    Trial (Doc. 111; Motion) filed on August 4, 2022. In the Motion, Hoover seeks

    leave to file a reply to “the Government’s opposition to his motion to sever trial.”

    See Motion at 1.     Defendant represents to the Court that the Government

    takes no position on the Motion. See id. at 4.

          Upon review, the Court finds that the Motion is due to be denied. As

    with two other motions for leave to file reply briefs, all submitted on the same

    day, in this Motion, Hoover has failed to demonstrate that a reply is necessary

    or warranted. Further, pursuant to Local Rule 3.01(d), United States District

    Court, Middle District of Florida, a motion seeking leave to file a reply must not

    include the arguments to be made in the proposed reply. In the instant Motion,

    Hoover improperly includes the substantive arguments and citation to legal

    authority he seeks to present in his reply. Although the Court will consider
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    the additional arguments set forth in the Motion in ruling on the Motion to

    Sever Trial, further briefing is unnecessary.

            In light of the foregoing, it is

            ORDERED:

            Defendant Matthew Raymond Hoover’s Motion to for [sic] Leave to File

    Reply to Opposition to Motion to Sever Trial (Doc. 111) is DENIED.

            DONE AND ORDERED in Jacksonville, Florida this 5th day of August,

    2022.




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    Copies to:

    Counsel of Record




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